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                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION


Jody Brooks,

                        Plaintiff,        Case No. 13-cv-15082
                                          Hon. Judith E. Levy
v.                                        Maj. Judge David R. Grand

County of Macomb and Dr.
Marcella Clark,

                        Defendants.

________________________________/

   OPINION AND ORDER ADOPTING THE MAGISTRATE’S
      REPORT & RECOMMENDATION [47] GRANTING
 DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT [29. 32]

      Jody Brooks, previously an inmate in Macomb County Jail, brings

this action against defendants Macomb County and Dr. Marcella Clark,

alleging violations of her Eighth Amendment right to be free from cruel

and unusual punishment.          She also alleges that Macomb County

violated the Americans with Disabilities Act by failing to provide her

with a reasonable accommodation.

      On May 28, 2015, Magistrate Judge Elizabeth A. Stafford issued a

Report and Recommendation, recommending that the Court grant

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defendants motions for summary judgments.              (Dkt. 47.)    Plaintiff

objected to the Report and Recommendation in a timely manner

arguing that the Magistrate Judge failed to resolve disputes of material

fact in the favor of non-moving party. (Dkt. 48.)

      Summary judgment is proper where “the movant shows that there

is no genuine dispute as to any material fact and the movant is entitled

to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The Court may

not grant summary judgment if “the evidence is such that a reasonable

jury could return a verdict for the nonmoving party.”           Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248. The Court “views the evidence,

all facts, and any inferences that may be drawn from the facts in the

light most favorable to the nonmoving party.” Pure Tech Sys., Inc. v.

Mt. Hawley Ins. Co., 95 F. App'x 132, 135 (6th Cir. 2004) (citing

Skousen v. Brighton High Sch., 305 F.3d 520, 526 (6th Cir.2002)).

      District courts review de novo those portions of a report and

recommendation to which a specific objection has been made. 28 U.S.C.

§ 636(b)(1)(C). “De novo review in these circumstances entails at least a

review of the evidence that faced the magistrate judge; the Court may




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not act solely on the basis of a report and recommendation.” Spooner v.

Jackson, 321 F. Supp. 2d 867, 868-69 (E.D. Mich. 2004).

      Objections to the report must not be overly general, such as

objections   that    dispute   the    correctness      of   the   report    and

recommendation but fail to specify findings believed to be in error.

Spencer v. Bouchard, 449 F.3d 721, 725 (6th Cir. 2006); see also Howard

v. Sec’y of HHS, 932 F.2d 505, 509 (6th Cir. 1991). “The objections must

be clear enough to enable the district court to discern those issues that

are dispositive and contentious.” Miller v. Currie, 50 F.3d 373, 380 (6th

Cir. 1995). “[O]bjections disput[ing[ the correctness of the magistrate’s

recommendation but fail[ing] to specify the findings… believed [to be] in

error” are not sufficiently specific. Id.     “[T]he failure to file specific

objections to a magistrate's report constitutes a waiver of those

objections.” Cowherd v. Million, 380 F.3d 909, 912 (6th Cir.2004).

      The full extent of plaintiff’s objection to the Report and

Recoommendation is as follows:

      Plaintiff objects to the Report and Recommendation of the
      Magistrate on the Defendants’ Motions for Summary
      Judgment for the reason that, throughout the Report, the
      Magistrate resolved disputed issues of fact in favor of the
      moving parties. Specifically, whenever there is a difference
      between Plaintiff’s testimony and what does or does not

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      appear in the medical chart, the Magistrate finds as a fact
      whatever appears or does not appear in the chart. This is
      contrary to the fundamental rule that, in resolving a
      dispositive motion, all disputed issues of fact must be
      resolved in favor of the non-moving party

(Dkt. 48 at 2.)    This kind of vague objection is exactly the kind of

“[o[verly general objection[]” that fails to satisfy the requirements as set

forth by the Sixth Circuit. See Spencer, 449 F.3d at 726. Plaintiff does

not point out any specific errors of fact or law in the Magistrate Judge’s

Report and Recommendation. Indeed, after reviewing the Magistrate

Judge’s factual findings, given the general nature of plaintiff’s objection,

the Court has no way of discerning what specific factual findings

plaintiff believes were in error.

      Accordingly, because plaintiff’s objections “fail to specify… the

findings in error,” the Court DENIES plaintiff’s objections and ADOPTS

the Report and Recommendation GRANTING defendants motions for

summary judgment.          Plaintiff’s complaint is DISMISSED with

prejudice.

      IT IS SO ORDERED.



Dated: July 20, 2015                      /s/ Judith E. Levy
                                          JUDITH E. LEVY

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                                          United States District Judge


                     CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing document was served
upon counsel of record and any unrepresented parties via the Court’s
ECF System to their respective email or First Class U.S. mail addresses
disclosed on the Notice of Electronic Filing on July 20, 2015.

                                          s/Felicia M. Moses
                                          FELICIA M. MOSES
                                          Case Manager




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